                                   Case 2:20-cv-02291-DOC-KES Document 45 Filed 03/25/20 Page 1 of 15 Page ID #:452



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                                      9                         UNITED STATES DISTRICT COURT
                                     10        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                     11
                                     12
                                          LA ALLIANCE FOR HUMAN                   )   Case No.: 20-CV-02291-DOC-KES
609 Deep Valley Drive, Suite 200
 Rolling Hills Estates, CA 90274




                                     13   RIGHTS, et al.                          )
                                                                                  )   PROPOSED AMICUS CURAE EX
         Jeff Lewis Law




                                     14                Plaintiffs,                )   PARTE APPLICATION FOR LEAVE
                                     15                                           )   TO PARTICIPATE IN CASE AND
                                                vs.                               )   APPEAR AT MARCH 26, 2020
                                     16                                           )   CONFERENCE
                                          CITY OF LOS ANGELES, et al.,            )
                                     17                                           )   Date:
                                     18                Defendants.                )   Time:
                                                                                  )   Crtm:   1 (1st Street Federal Courthouse)
                                     19

                                     20                                               Hon. David O. Carter
                                                                                      Courtroom 1
                                     21
                                                                                      Complaint Filed: March 10, 2020
                                     22
                                     23
                                     24         TO ALL ATTORNEYS OF RECORD, pursuant to Local Rule 7-19,
                                     25   Proposed Amicus Curae Venice Stakeholders Association (“VSA”) files this ex
                                     26   parte application to allow VSA to participate in this action, participate in the March
                                     27   26, 2020 status conference and submit the proposed declaration of Mark Ryavec
                                     28   filed concurrently herewith.
                                             PROPOSED AMICUS CURAE EX PARTE APPLICATION FOR LEAVE TO
                                           PARTICIPATE IN CASE AND APPEAR AT MARCH 26, 2020 CONFERENCE
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                                      1          Counsel for VSA advised counsel for plaintiffs, the City of Los Angeles and
                                      2   the County of Los Angeles by email on March 25, 2020 regarding this application.
                                      3   There is no indication of their positions to date regarding the ex parte application.
                                      4          This ex parte application is based on the complaint, the Memorandum of
                                      5   Points and Authorities below, the argument of counsel, and such further evidence as
                                      6   the Court may consider regarding this Application.
                                      7          Pursuant to Local Civil Rule 7-19, VSA provides the following information:
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                                                                                 Sean C. Rotstan
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                                      1                MEMORANDUM OF POINTS AND AUTHORITIES
                                      2         Proposed Amicus Curae Venice Stakeholders Association (“VSA”) files this
                                      3   ex parte application to allow VSA to participate in this action, participate in the
                                      4   March 26, 2020 status conference and submit the proposed Declaration by Mark
                                      5   Ryavec. Plaintiff filed this action on March 10, 2020.
                                      6
                                      7   I.    Standard for Amicus Participation
                                      8
                                                       There are no strict prerequisites that must be established
                                      9
                                                       prior to qualifying for amicus status; an individual seeking
                                     10                to appear as amicus must merely make a showing that his
                                                       participation is useful or otherwise desirable to the
                                     11
                                                       court. (Citation.); see Hoptowit v. Ray, 682 F.2d 1237, 12
                                     12                60 (9th Cir. 1982) (“The district court has “broad
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 Rolling Hills Estates, CA 90274




                                                       discretion” to permit amicus briefs.”). The scope of
                                     13
                                                       amicus briefs, however, should be limited to the issues
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                                     14                raised by the parties. See Citizens Against Casino
                                                       Gambling in Erie Cty. v. Kempthorne, 471 F.Supp.2d 295,
                                     15
                                                       311 (W.D.N.Y. 2007) (“Amicus participation goes beyond
                                     16                its proper role if the submission is used to present wholly
                                     17
                                                       new issues not raised by the parties.”).

                                     18   (California by and through Becerra v. United States Department of the Interior,
                                     19   381 F.Supp.3d 1153, 1164 (N.D. Cal. 2019)).
                                     20
                                     21   II.   Interests of VSA
                                     22         The VSA, founded in 2009, is a nonprofit organization dedicated to civic
                                     23   improvement. The VSA supports slow growth, the limits of the Venice Local
                                     24   Coastal Specific Plan, neighborhood safety, better traffic circulation, increased
                                     25   parking for residents, neighborhood beautification projects, historic preservation,
                                     26   habitat restoration and protection of coastal waters.
                                     27         Representing residents in the Venice district of the City of Los Angeles,
                                     28   California, the VSA has grappled with the horrendous impact of the increase of the
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                                      1   homeless population in Venice from approximately 400 persons in 2014 to 1,100
                                      2   persons now, as documented by the Los Angeles Homeless Services Authority’s
                                      3   annual homeless count.
                                      4          The VSA provides research, education, advocacy and litigation support for
                                      5   Venice Beach residents to ensure that their voices are heard. VSA is presently in
                                      6   litigation against the City of Los Angeles, the California Coastal Commission and
                                      7   the Los Angeles County Metropolitan Transportation Authority over the erection of
                                      8   a 154-bed homeless shelter complex in violation of the California Environmental
                                      9   Quality Act, VSA v. City of Los Angeles, Case No. 19STCP00044 and VSA v. Los
                                     10   Angeles County Metropolitan Transportation Authority, Case No. 19STCP00629.1
                                     11
                                     12   III.   Viewpoint of VSA on Solutions Proposed to House the Homeless During
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                                     13          Corona Virus are Inadequate Because they do not Allow for Ample and
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                                     14          Enforceable Self-Quarantine
                                     15          The proposed declaration by VSA represents a viewpoint not presently
                                     16   addressed by either plaintiff or defendant: the urgent need to order the city and
                                     17   county of Los Angeles to focus all temporary housing for the homeless on
                                     18   structures, buildings and tents that allow for ample and enforceable self-quarantine.
                                     19          The City of Los Angeles is currently re-purposing city recreation centers for
                                     20   use as temporary shelters for the homeless. While the concept of converting
                                     21   recreation centers to shelters appears appropriate in this crisis, it is contraindicated
                                     22   by the nature of the population itself.
                                     23          At least 50%, and possibly a higher percentage, of the homeless population
                                     24   simply lacks the required self-discipline to abide by any social distancing
                                     25   protocols. Over 50% are either mentally ill, substance addicted and/or anti-
                                     26
                                          1
                                     27    Those cases are presently under discretionary writ review by the California Court
                                          of Appeal, Second District, Venice Stakeholders Association v. Superior Court of
                                     28   Los Angeles County, Case Number B304424.
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                                      1   authoritarian, or just too young to accept the seriousness of the situation (as we saw
                                      2   with partying students on the beach in Florida recently).
                                      3   One has only to look at the pandemonium at Third and Rose in Venice on March
                                      4   24th in the following video to see that social distancing is not being observed:
                                      5   https://veniceupdate.com/2020/03/25/25310/
                                      6         Also, the very nature of living on the streets for prolonged periods with
                                      7   addiction, poor hygiene and sanitation, and lack of medical care, have rendered
                                      8   many in this population immuno-compromised. A larger proportion than the
                                      9   general population have underlying conditions, which puts them more at risk to
                                     10   COVID-19: heart disease, hypertension and/or diabetes.
                                     11         The result is that placing them in recreation centers on cots on six-foot
                                     12   centers will assure that the virus will spread quickly among the homeless as well as
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                                     13   the caregivers who at this time are not expected to have the necessary personal
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                                     14   protective gear needed to prevent transmission. It also will put those over 60 and
                                     15   the high percentage that are immuno-compromised or have underlying conditions at
                                     16   greater risk than other options.2
                                     17         Apparently, the County Sheriff understands the need to thin out jail
                                     18   populations to slow the spread of the virus in jails, but Mayor Garcetti and
                                     19   members of the City Council proceed in contradiction to the obvious, packing
                                     20   homeless into recreation centers and Bridge Housing.
                                     21         All the homeless, but especially those over 60 and/or those with underlying
                                     22   conditions or immuno-compromised systems, should be given a priority in rooms in
                                     23   motels, hotels, student dormitories or military-style tents to self-quarantine.
                                     24
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                                           This analysis applies equally to Bridge Housing facilities, which are large
                                          communal living facilities, with no possibility to self-quarantine.
                                     28
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                                      1         At UCLA alone, a student housing blog reports3 there are beds for over
                                      2   10,000 students, many of which are empty due to the university’s closure. There are
                                      3   thousands of beds at other Los Angeles-area colleges and universities, such USC,
                                      4   Loyola, Pepperdine, etc. These institutions are likely to be closed through the end
                                      5   of August, possibly longer. Students remaining in campus housing may be moved
                                      6   all together in one or two dormitories, freeing up other dormitory rooms for the
                                      7   homeless during this crisis. Major institutions such as UCLA and USC have student
                                      8   health centers which are not now seeing students, which could be moved into action
                                      9   to serve the homeless. Either dormitory kitchens or local, under-utilized restaurants
                                     10   could deliver daily meals. Campus security along with the LAPD could help
                                     11   maintain social distancing.
                                     12         Similarly, military-style tents set up on 10-foot or even 20-foot centers on the
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                                     13   playing fields or parking lots of stadiums, such as the Rose Bowl and Coliseum,
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                                     14   with plenty of bathrooms and even showers in players dressing rooms, and food
                                     15   concessions, would be preferable to recreation centers which have little bathroom
                                     16   and shower capacity.
                                     17         Of course, the best solution would be the State’s lease of thousands of now-
                                     18   empty low-priced motel and hotel rooms to allow for self-quarantine, especially for
                                     19   those with the virus or those over 60 and/or with underlying conditions.
                                     20         In light of all the information coming out of Korea, Taiwan, Singapore and
                                     21   Hong Kong, widespread testing, tracing and self-quarantine for everyone is the only
                                     22
                                          3
                                     23     From a UCLA blog on campus housing:
                                          Ok, so first off, UCLA guarantees on-campus housing for three years, and we are
                                     24   working on guaranteeing a fourth (at which time we will be the only UC to do so).
                                          About 10,000 students live on the Hill each year, which is more people than some
                                     25
                                          towns! Holy cow. Of the students living on the Hill, most are first-years. In fact,
                                     26   over 95% of freshmen live on campus.
                                          (See UCLA Bruin Blog entitled Dorms! Dated August 11, 201l accessed at
                                     27   https://blog.admissions.ucla.edu/2011/08/11/dorms/ last accessed on March 25,
                                          2020.)
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                                    1   path to slow the spread and contain the virus. This is not possible on sidewalks, in
                                    2   recreation centers (or even in Bridge Housing).
                                    3

                                    4   IV.   Conclusion
                                    5         Based on the foregoing, VSA respectfully requests that the Court grant the
                                    6   application, allow VSA to participate in this proceeding and allow the Declaration
                                    7   of Mark Ryavec be filed. VSA’s president, Mark Ryavec, is available to personally
                                    8   or telephonically attend any proceedings at the invitation of the Court.
                                    9
                                        DATED: March 25, 2020                JEFF LEWIS LAW
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                                    1
                                                                     PROOF OF SERVICE
                                    2            LA Alliance for Human Rights, et al. v. City of Los Angeles, et al.
                                                  U.S. Central District Court Case No. 20-CV-02291-DOC-KES
                                    3
                                              I, Jason R. Ebbens, declare that I am over the age of 18 years, employed in
                                    4
                                        the County of Los Angeles, and not a party to the within action; my business
                                    5   address is 609 Deep Valley Drive, Suite 200, Rolling Hills Estates, CA 90274.

                                    6          On March 25, 2020, I served the foregoing: PROPOSED AMICUS
                                        CURAE EX PARTE APPLICATION FOR LEAVE TO PARTICIPATE IN
                                    7   CASE AND APPEAR AT MARCH 26, 2020 CONFERENCE on the interested
                                    8   parties in this action by placing ¨ the original x a true copy thereof, enclosed in a
                                        sealed envelope with postage pre-paid, addressed as follows:
                                    9
                                                                   * See Attached Service List *
                                   10
                                              BY ELECTRONIC MAIL. I personally transmitted to the person(s) named in
                                   11
                                              the attached service list who has/have previously consented in writing to
                                   12         receive documents via electronic mail to the e-mail address(es) shown on the
                                              service list, delivered on the date listed below, originating from an electronic
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                                   13         e-mail address affiliated with Jeff Lewis Law. A true and correct copy of the
                                              above-described document(s) was transmitted by electronic transmission
         Jeff Lewis Law




                                   14         through the Jeff Lewis Law mail server, which did not report any error in
                                   15         sending the transmission

                                   16         (STATE) I declare under penalty of perjury under the laws of the State of
                                              California that the foregoing is true and correct.
                                   17
                                              Executed on March 25, 2020, in Rolling Hills Estates, California.
                                   18

                                   19
                                                                                _____________________________
                                                                                     s/ Jason R. Ebbens
                                   20                                                Jason R. Ebbens
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                                                 U.S. Central District Court Case No. 20-CV-02291-DOC-KES
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                                   3             U.S. Central District Court Case No. 20-CV-02291-DOC-KES

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                                   3            U.S. Central District Court Case No. 20-CV-02291-DOC-KES

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                                   3             U.S. Central District Court Case No. 20-CV-02291-DOC-KES

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